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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                               Northern Division

KIMBERLY KUBAS                      )
                         Plaintiff, )
                                    )
              v.                    ) Civil Action No. 1:20-cv-2456 (MJM)
                                    )
331B, LLC                           )
(D/B/A ROCKWELL FITNESS)            )
                                    )
                       Defendant. )
                                    )


                                         ORDER


       UPON CONSIDERATION of Plaintiff’s Consent Motion for a Two-Week Extension of

Time to File Plaintiff’s Motion for Attorney’s Fees and Costs, it is hereby ORDERED that the

Motion is GRANTED.         Plaintiff’s Motion shall be due on or before October 26, 2023.

Defendant’s Response will be due on December 1, 2023 and Plaintiff’s Reply is due on

December 8, 2023.




          /S/                                           10/6/23
__________________________________                  ____________________
United States Magistrate Judge                      Date
Matthew J. Maddox
